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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

BYTEMARK, INC.,                      §
                                     §
                Plaintiff,           §
                                     §
     v.                              §   CIVIL ACTION NO. 1:17-cv-01803
                                     §   (PGG)
XEROX CORP., ACS TRANSPORT           §   ECF CASE
SOLUTIONS, INC., XEROX               §
TRANSPORT SOLUTIONS, INC.,           §
CONDUENT INC., and NEW JERSEY        §
TRANSIT CORP.,                       §
                                     §
                Defendants.          §
                                     §
                                     §
                                     §
                                     §

          DEFENDANTS’ REPLY IN SUPPORT OF ITS MOTION TO COMPEL
                  AND MOTION FOR PROTECTIVE ORDER
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                                          I.   Introduction

       There is no dispute that a trade secret plaintiff must disclose its trade secrets with

reasonable particularity prior to discovering a defendant’s confidential information. Rather, the

dispute is whether Bytemark’s broad categorizations in its complaint or, alternatively, its promise

to produce “all” its source code, is sufficient at this stage of the case. It is not. Multiple New

York courts have held that generic descriptions of categories, like those in Bytemark’s

complaint, fail to describe trade secrets with sufficiently reasonable particularity. And Bytemark

has found no authority to support is position that a voluminous source code production satisfies

its obligations because it does not.

       Despite Defendants’ repeated attempts at compromise, Bytemark is unwilling to identify

its trade secrets in greater detail than the broad, amorphous categories in its complaint. Instead, it

now asks this Court for permission to peek behind Defendants’ curtain, examine in detail the

highly confidential inner workings of Defendants’ products, and only then identify the

information over which it alleges trade secret protection. Court after court has recognized the

inherent unfairness of such an approach. And for this reason, court after court has required a

trade secret plaintiff to identify its trade secrets with reasonable particularity prior to accessing a

defendant’s confidential information. Bytemark is capable of doing so now, and until it does, the

Court should preclude further discovery into Defendant’s highly confidential information. This is

what Defendants’ Motion requests, and this is what the great weight of authority compels.

                                    II.    Factual Background

       The events preceding this dispute have been fully developed, both in this Motion and in

Bytemark’s co-pending Motion to Compel. Two key points, however, are worth reiterating.




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       First, on October 23, 2018 Defendants served the first discovery requests in this case.

Defendants First Set of Interrogatories requested, among other things, that Bytemark identify its

alleged trade secrets. Mot. at Ex. B (Defendants First Set of Interrogatories) at Interrogatory 1.

Defendants First Set of Requests for Production requested, among other things, that Bytemark

produce documents identifying and embodying its alleged trade secrets. Mot. at Ex. C

(Defendants First Set of Requests for Production) at, e.g., RFP 1-6. To this day, Bytemark has

failed to substantively respond to any of these requests.

       Second, over the past two years, the parties have attempted to reach a compromise that

would avoid burdening this Court. Bytemark recasts itself as the reasonable party offering

repeatedly to allow Defendants to inspect its trade secrets. What Bytemark fails to mention,

however, is that it retracted these offers before Defendants could arrange for inspection. And all

its offers required Defendants to concede that Bytemark could wait until the end of discovery to

identify its trade secrets. Bytemark’s last word on the subject makes its position very clear:

Bytemark is “not willing to produce such a [trade secret disclosure] document” and it will

respond to Defendants’ request for an identification of trade secrets “at the conclusion of other

discovery. . . .” See, e.g., Ex. E at 2 (emphasis added). Because Bytemark will not identify its

trade secrets, Defendants saw no path forward other than Court intervention. Defendants simply

request what they are entitled to; a reasonably particular identification of Bytemark’s alleged

trade secrets followed by full and open discovery from both sides.

                                        III.   Argument

       A.      Both parties’ authorities confirm that Bytemark must identify its trade
               secrets with reasonable particularity early in the case.

       Defendants’ Motion seeks an order compelling Bytemark to identify its trade secrets with

reasonable particularity prior to any further discovery into Defendants’ highly confidential

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information. Bytemark refuses even though “Bytemark is aware of what confidential and

proprietary information it has shared with Defendants.” Resp. at 8. In sum, Bytemark wants to

withhold all details of its trade secrets until it can peruse Defendants’ source code and other

confidential information. This is not the law.

               1.      Bytemark has failed to identify its trade secrets with reasonable
                       particularity as is required by court precedent.

       Recognizing the weakness of its position, Bytemark’s main response is to suggest it has

sufficiently identified its trade secrets in its complaint. But Bytemark’s broad characterization of

its alleged trade secrets as all aspects of a “mobile ticketing system” is anything but reasonably

particular. Rather, it is precisely the type of broad, categorical trade secret disclosures that New

York district courts will not tolerate. For example, Bytemark’s lead case, Uni-Sys., recognizes

“that generic descriptions of categories are insufficient to provide defendants with information

sufficient to satisfy the ‘reasonable particularity’ standard.” Uni-Sys., LLC v. U.S. Tennis Ass’n,

No. 17CV147, 2017 WL 4081904, at *4 (E.D.N.Y. Sept. 13, 2017) (citations omitted).

       In fact, Bytemark’s disclosure is exactly what Uni-Sys rejects. Bytemark’s complaint

recites generic descriptions of categories that encompasses every aspect of a mobile ticketing

system, such as “mobile ticket development technology and know-how,” “back-end application

and system management, maintenance, and service,” and “pricing, sales initiatives and profit

generation paradigm.” See Resp. at 9. Bytemark’s disclosure is akin to Tesla describing its trade

secrets as “electric car technology, including batteries, motors, electronics, and the related know-

how, systems, and pricing.” Such a description leaves a defendant to guess what within the broad

category of “electronics” or “batteries” constitutes the trade secrets. The same is true of

Bytemark’s disclosure. Defendants must guess what part of mobile ticketing the alleged trade

secrets relate to, which is especially troubling given that mobile ticketing (like electronics and

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batteries) has been in the public domain for decades. See, e.g., plusdial.net/highlights (stating

that its first mobile ticket was sold in 2001, and its mobile ticketing pilot started in 2002); USP

7,520,427 titled “Method of Operating a Ticketing System” filed on November 21, 2005. As

Bytemark failed to “describe the subject matter of [its] trade secret with sufficient particularity to

separate it from matters of general knowledge in the trade or of special knowledge of those

persons skilled in the trade,” its disclosure is insufficient. ValveTech, Inc. v. Aerojet Rocketdyne,

Inc., No. 17-CV-6788-FPG, 2019 WL 4688737, at *3 (W.D.N.Y. Sept. 26, 2019).

       The Uni-Sys ruling does not stand alone. Other courts in the Southern District of New

York have repeatedly found disclosures like Bytemark’s insufficient to define a trade secret with

reasonable particularity. See, e.g., Big Vision Private, Ltd. v. E.I. Du Pont De Nemours & Co., 1

F.Supp. 3d 224, 258 (S.D.N.Y. Mar. 3, 2014). For example, the Big Vision court surveyed cases

across the country and concluded that they all require some amount of specificity beyond

“general allegations and generic references to products.” Id. at 259. The court then held that

“several district courts within this Circuit have adopted this particularity requirement, and this

Court now joins them.” Id. Thus, consistent with Southern District of New York case law,

Bytemark must do more than provide “general categories of information,” “general allegations,”

and “generic references to products.” Id. at 259; see also Heyman v. AR. Winarick, Inc., 325 F.2d

584, 590 (2d Cir. Dec. 24, 1963) (holding that a trade secret description of a quaternary and non-

toxic surface agent used in a fingernail hardener was too vague and indefinite); DS Parent, Inc.

v. Teich, No. 5:13-CV-1489 LEK/DEP, 2014 WL 546358, at *8 (N.D.N.Y. Feb. 10, 2014)

(finding a trade secret description of “science and engineering of [] liquid coating systems . . .,

including the empirical testing and trial-and error” performed by the trade secret plaintiff to be

an insufficient disclosure).


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               2.      Bytemark is capable of describing its trade secrets with reasonable
                       particularity.

       Bytemark has no excuse for its failure to sufficiently identify its alleged trade secrets. To

have a Rule 11 basis for asserting a trade secret claim, it must know which trade secrets form the

basis of that claim. In fact, the elements of Bytemark’s the Defend Trade Secrets Act (“DTSA”),

New York common law, and New Jersey Trade Secret Act claims require the trade secret “owner

[to] . . . ha[ve] taken reasonable measures to keep such information secret.” 18 U.S.C. § 1839(3);

see also E.J. Brooks Co. v. Cambridge Sec. Seals, 31 N.Y.3d 441, 80 N.Y.S.3d 162, 105 N.E.3d

301, 310 (2018) (New York law); N.J. Stat. Ann. 56:15-2 (New Jersey Trade Secrets Act). How

can Bytemark aver that it kept the information secret if it can’t even identify what that

information is? Indeed, Bytemark concedes that it “is aware of what confidential and proprietary

information it has shared with Defendants.” Resp. at 9. It simply refuses to tell Defendants.

Bytemark’s motivation for withholding its alleged trade secrets is simple: Bytemark wants to

tailor its broad allegations to the specific material it finds in Defendants’ confidential

information. But this is the very reason courts from this jurisdiction and others have required, as

a matter of course, that trade secret plaintiffs identify their trade secrets with reasonable

particularity prior to discovery. See Mot. at 7-10.

               3.      Bytemark’s trade secret disclosure must occur early in the case.

       Bytemark rejects this well-established precedent, suggesting it should be allowed to

withhold a sufficient trade secret disclosure until “it has had a full opportunity to conduct

discovery of the accused systems.” Resp. at 12 (emphasis added). Again, this is not the law.

Bytemark must define its trade secrets with reasonable particularity early in the case. New York

courts are unequivocal on this point. In MSCI, the court held that “the law requires that a trade

secret plaintiff identify trade secrets with reasonable particularity early in the case.” MSCI Inc.

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v. Jacob, 36 Misc. 3d 211, 213, 945 N.Y.S.2d 863, 865 (Sup. Ct. 2012) (emphasis added). The

DS Parent case also joined in this reasoning. DS Parent, 2014 WL 546358 at *8 (citing MSCI).

Trade secret treatises likewise support early trade secret identification. See 3 Milgram on Trade

Secrets § 14.02 (“[I]t is essentially necessary for a plaintiff to identify its trade secrets before the

defendant proceeds with disclosure of its confidential information.”).

        Bytemark’s only retort is to argue that the facts of another case, Xerox Corp. v.

International Bus. Machs. Corp., support rewriting MSCI’s requirement to disclose trade secrets

“early in the case” as “after extensive discovery.” Resp. at 15. This is nonsensical. In MSCI, the

court ruled that the trade secrets must be identified “early in the case.” MSCI, 36 Misc. 3d at 213.

This is the opposite of a trade secret disclosure submitted “after extensive discovery.” More

importantly, the Xerox case supports early—rather than late—trade secret disclosure. See Xerox

Corp. v. International Bus. Machs. Corp., 64 FRD 367, 371-72 (S.D.N.Y. 1974) (holding that

without a sufficient trade secret disclosure, “neither the court nor the parties can know, with any

degree of certainty, whether discovery is relevant or not”).

        Even Bytemark’s Sit-Up case supports this conclusion, as that court held it was “unfair . .

. to the defendants to conduct discovery without knowing what the assertions are.” Sit-Up Ltd. v.

IAC/InterActiveCorp., No. 05 CIV. 9292 (DLC), 2008 WL 463884, at *7 (S.D.N.Y. Feb. 20,

2008). To hold otherwise prevents Defendants from “testing whatever the plaintiff’s theory is”

during discovery. Id. at *15-16. As Bytemark’s trade secret description is not reasonably

particular, this Court should require a more detailed disclosure prior to Defendants’ production

of highly-confidential information and source code.




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       B.      Bytemark’s offer to produce “all” of its source code does not satisfy
               Bytemark’s obligation.

       Bytemark’s offer to provide all of its source code as a trade secret disclosure also fails to

provide a reasonably particular trade secret disclosure. In PaySys, the plaintiff stated that its trade

secrets included its source code, which “consist[s] of millions of lines of source code with

diverse functionality.” PaySys Int’l, Inc. v. Atos Se, No. 14-CV-10105 (KBF), 2016 WL

7116132, at *11 (S.D.N.Y. Dec. 5, 2016). The PaySys court noted that “plaintiff has sought to

shift the burden to defendants to prove what is not [a trade] secret.” Id. at *28. This scenario “is

the reverse of what the law requires.” Id. Similarly, the MSCI case held that “providing

defendants with plaintiffs’ ‘reference library’ to establish what portions of their source code are

in the public domain shifts the burden to defendants to clarify plaintiffs’ claim. . . . Hence, it is

insufficient.” MSCI, 36 Misc. 3d at 865-66. Bytemark’s solution to “produc[e] all of the source

code and confidential information” and then require Defendants to dig through thousands of

pages and millions of lines of code to guess its trade secrets is therefore improper and must be

rejected. Resp. at 13.

       C.      This Court’s precedent supports compelling identification of Bytemark’s
               trade secrets.

       Bytemark relies on Local Civil Rule 33.3 in an attempt to shirk its obligation to identify

its alleged trade secrets with reasonable particularity. There is precedent, however, for requiring

trade secret disclosures via interrogatories. In Ferguson v. Ferrante, the Southern District of

New York heard a motion to compel regarding interrogatories much like those at issue in this

case. No. 13 CIV. 4468 VEC, 2014 WL 1327968, at *2 (S.D.N.Y. Apr. 3, 2014). The defendants

in Ferguson served interrogatories seeking “information relating to [plaintiff’s] claims against

the defendants for the misappropriation and conversion of trade secrets.” Id. The Ferguson

plaintiff had previously refused to answer these interrogatories. Id. After recounting the
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limitations imposed by Local Rule 33.3, the Ferguson court noted that the plaintiff’s complaint

did not “clarify ‘with particularity the specific ‘trade secrets and confidential business

information’ . . . that [defendants] allegedly appropriated or converted.’” Id. Next, the court

recounted “the importance of pleading trade secrets with particularity; without knowing the

specific secrets at issue, the defendants run the risk of re-using the secrets and the Court is unable

to evaluate whether and to what extent they are doing so.” Id. (citing Big Vision, 1 F. Supp. 3d at

257). Because it is important that a plaintiff identify its trade secrets with particularity, the

Southern District Court ordered the plaintiff to answer the interrogatories and “particularly []

identify the alleged stolen trade secrets.” Id.

        Just like in Ferguson, Defendants’ respectfully request that the Court order Bytemark to

identify with reasonable particularity its alleged trade secrets, either via a compelled response to

Interrogatory No. 1 (as in Ferguson), or via specific trade secret disclosures (as in multiple cases

cited herein). Bytemark can articulate no reason why such a disclosure would burden it in any

way. On the contrary, as multiple courts have held, such a disclosure will protect Defendants,

streamline litigation, and prevent Bytemark’s trade secrets from being a moving target

throughout discovery.

        D.      A protective order is appropriate here.

        Bytemark fails to undermine the ample good cause that exists for a protective order.

Defendants will suffer a “clearly defined, specific and serious injury” in the absence of a

protective order. Qube Films Ltd. v. Padell, No. 13-CV-8405, 2015 WL 109628, at *2 (S.D.N.Y.

Jan. 5, 2015). This injury includes the inherent unfairness of allowing Bytemark to mold its

broad trade secrets to Defendants confidential information, the inefficiencies of allowing

Bytemark to conceal its trade secrets, and the continued disputes that will arise over Bytemark’s

failure to define its claims. On the other hand, Bytemark has articulated no credible injury it
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would suffer if the protective order is granted. Bytemark complains that Defendants’ requested

protective order “would bar Bytemark from obtaining highly relevant and crucial evidence.”

Resp. at 8. It would not. Bytemark will receive all the documents and information to which it is

entitled under the Federal Rules and the Rules of this Court. Defendants’ simply request that

Bytemark first identify its trade secrets with reasonable particularity as required by the

overwhelming majority of courts that address this issue. See Mot. at 7-10.

       More importantly, the burden for Bytemark to gain access to the information it seeks is

minimal. Bytemark knows its alleged trade secrets, and it knows what has been communicated to

Defendants. Resp. at 9. It could, with little effort, identify its trade secrets with reasonable

particularity. Fears that a disclosure would limit Bytemark’s flexibility in this case are

unwarranted. A response to Defendants’ Interrogatory No. 1, or a trade secret disclosure ordered

by the Court, could and should be amended as discovery progresses—the disclosure is just a

starting point to streamline litigation and prevent unfairness. See, e.g., Fed. R. Civ. P. 26(e). As

case after case makes clear, Bytemark only needs to identify its trade secrets with sufficient

detail to protect against unfairness, frame discovery, and permit Defendants to develop well-

reasoned defenses. See, e.g., Sit-Up, 2008 WL 463884, at *6 (finding trade secrets must be

specified throughout litigation “so that the defendant can defend himself adequately against

claims of trade secret misappropriation, and can divine the line between secret and nonsecret

information”). Therefore, a protective order is warranted until Bytemark identifies its trade

secrets with reasonable particularity.

                                         IV.   Conclusion

       For these reasons, Defendants respectfully request that the Court grant its Motion to

Compel and Motion for Protective Order.


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Dated: January 6, 2021
                                    Respectfully submitted,

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